                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR14-3045-MWB
                                                       No. CR15-3014-MWB
 vs.                                         ORDER ACCEPTING MAGISTRATE
                                                 JUDGE’S REPORT AND
 WILLIAM REES,
                                             RECOMMENDATION REGARDING
               Defendant.                      DEFENDANT’S GUILTY PLEA
                                ____________________



                      I. INTRODUCTION AND BACKGROUND
        On August 28, 2014, an Indictment was returned, in CR-14-3045-MWB, against
defendant Rees, charging defendant with conspiring to distribute 500 grams or more
methamphetamine which contained at least 50 grams or more of pure methamphetamine,
in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846, possessing 50 grams or
more of pure methamphetamine with intent to distribute, in violation of 21 U.S.C.
§§ 841(a)(1) and 841(b)(1)(A); distributing 5 grams or more of pure methamphetamine,
in violation of 21 U.S.C. §§ 841(a)(1) and              841(b)(1)(B), and distributing
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). In an
Indictment returned, in CR15-3014-MWB, on July 24, 2014, defendant is charged with
being a felon in possession of a firearm, in violation of 18 U.S.C. §§ 922(g)(1) and
924(a)(2). On May 4, 2015, defendant appeared before United States Magistrate Judge
Leonard T. Strand and entered a plea of guilty to Count 1 of the Indictment in CR14-3045-
MWB and Count 1 of the Indictment in CR15-3014-MWB. On this same date, Judge




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Strand filed a Report and Recommendation in which he recommends that defendant’s guilty
plea be accepted. No objections to Judge Strand’s Report and Recommendation were
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filed.           The court, therefore, undertakes the necessary review of Judge Strand’s
recommendation to accept defendant’s plea in this case.


                                           II. ANALYSIS
             The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
                    A judge of the court shall make a de novo determination of
                    those portions of the report or specified proposed findings or
                    recommendations to which objection is made. A judge of the
                    court may accept, reject, or modify, in whole or in part, the
                    findings or recommendations made by the magistrate judge.
                    The judge may also receive further evidence or recommit the
                    matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 72, 72.1 (allowing the referral of dispositive matters to a magistrate judge
but not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
                    Any party that desires plenary consideration by the Article III
                    judge of any issue need only ask. Moreover, while the statute
                    does not require the judge to review an issue de novo if no
                    objections are filed, it does not preclude further review by the
                    district judge, sua sponte or at the request of a party, under a
                    de novo or any other standard.


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       The parties have waived the fourteen day period in which to file objections to
Judge Strand’s Report and Recommendation.

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Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                  28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of
review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor
v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to
Fed. R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only
satisfy itself that there is no clear error on the face of the record”). After conducting its
review, the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation.       Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the
court accepts Judge Strand’s Report and Recommendation and accepts defendant’s plea of
guilty in this case to Count 1 of the Indictment in CR14-3045-MWB and Count 1 of the
Indictment in CR15-3014-MWB.




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 IT IS SO ORDERED.
 DATED this 5th day of May, 2015.


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                                        MARK W. BENNETT
                                        U. S. DISTRICT COURT JUDGE
                                        NORTHERN DISTRICT OF IOWA




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